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                      Exhibit 2
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                               UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF CONNECTICUT
                                          BRIDGEPORT DIVISION
 --------------------------------------------------------------x
                                                               :
 In re:                                                        : Chapter 11
                                                               :
 HO WAN KWOK, et al.,                                          : Case No. 22-50073 (JAM)
                                                               :
                   Debtors.1                                   : Jointly Administered
                                                               :
 --------------------------------------------------------------x
                    SECOND INTERIM FEE APPLICATION COVER SHEET

 Interim Application of:                             Paul Hastings LLP
 Time Period:                                        From: March 1, 2023             To: June 30, 2023
 Bankruptcy Petition Filed:                          February 15, 2022 (main chapter 11 case)
 Date of Entry of Retention Orders:                  August 2, 2022 [Docket No. 668] (effective as of
                                                     July 8, 2022, as to Individual Debtor) and January
                                                     24, 2023 [Docket No. 1376] (effective as of October
                                                     11, 2022, as to Genever (BVI) and effective as of
                                                     November 3, 2022, as to Genever (US)
 Amounts Requested                                   Reductions
 Fees:            $8,037,720.002                     Voluntary Fee Reductions: $138,542.25
 Expenses:          $213,914.83                      Voluntary Expense Reductions: $2,395.80
 Total:            $8,251,634.83
 Fees Previously Requested:                          Retainer Request:
 Requested Fees:    $12,410,172.26                   None
 Awarded Fees:      $11,860,172.26
 Paid Fees:         $11,776,802.00
 Expenses Previously Requested:                      Expense Detail:
 Requested Expenses: $412,445.29                     Retainer Received: Not applicable
 Awarded Expenses:    $412,445.29                    Copies per page cost and total: $0.08 b/w (per page)
 Paid Expenses:       $412,445.29                                                    $0.20 color (per page)
                                                                                     $20,481.56 (total)

 1
     The Debtors in these chapter 11 cases are Ho Wan Kwok (also known as Guo Wengui, Miles Guo, and Miles
     Kwok, as well as numerous other aliases) (last four digits of tax identification number: 9595), Genever
     Holdings LLC (last four digits of tax identification number: 8202) and Genever Holdings Corporation. The
     mailing address for the Trustee, Genever Holdings LLC, and the Genever Holdings Corporation is Paul
     Hastings LLP, 200 Park Avenue, New York, NY 10166 c/o Luc A. Despins, as Trustee for the Estate of Ho
     Wan Kwok (solely for purposes of notices and communications).
 2
     While this Application seeks allowance of $8,037,720.00 in fees incurred during the Fee Period (net of a
     $20,096.25 credit, as further detailed below), Paul Hastings has agreed with the U.S. Trustee and the Committee
     that it would only request, at this time, payment of 80% of its fees, with a 20% holdback.
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 Application, Paul Hastings requests allowance and payment2 of the compensation for

 professional services performed by Paul Hastings attorneys (including the Trustee3) and

 reimbursement of its actual and necessary expenses incurred during the period from March 1,

 2023 through and including June 30, 2023 (the “Fee Period”). In support of this Application,

 Paul Hastings respectfully states as follows:

                                      PRELIMINARY STATEMENT

         1.       Upon the Trustee’s appointment on July 8, 2022, the Trustee and Paul Hastings

 immediately embarked on an investigation into the financial affairs of the Individual Debtor and

 his corporate “shell game” to shield companies and assets under his ownership and/or control

 from his creditors. Given the vast network of companies affiliated with the Individual Debtor,

 and the fact that these companies or their assets are located around the world, the Trustee’s

 investigation was, and continues to be, extensive. For example, to date, the Trustee’s

 investigation has included, among other things, (a) seeking discovery under Bankruptcy Rule

 2004 from hundreds of individuals and entities connected with the Individual Debtor and his

 various businesses, (b) analyzing thousands of documents produced in response to the Trustee’s

 Rule 2004 subpoenas, (c) deposing several targets of the Trustee’s Rule 2004 discovery, (d)

 interviewing former employees and business associates of the Individual Debtor (including

 several communications with confidential informants), (e) researching property records, and (f)

 pursuing litigation to recover property of the estate.

 2
     While this Application seeks allowance of all fees incurred during the Fee Period, as per Paul Hastings’
     agreement with the U.S. Trustee and the Committee, Paul Hastings is only requesting, at this time, payment of
     80% of the fees incurred, with a 20% holdback.
 3
     In accordance with the Retention Order (as defined below), the Trustee is authorized to act as one of the
     attorneys for the Individual Debtor’s estate, and, accordingly, this Application also seeks allowance of the
     Trustee’s fees in such capacity. For the avoidance of doubt, in this Application, references to services provided
     by Paul Hastings attorneys shall include the Trustee. To be clear, time spent by the Trustee in his capacity as
     chapter 11 trustee, is not part of this Application, and compensation therefor will be sought by separate
     application.



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to pending adversary proceedings, (iii) maintaining a tracking chart with respect to the pending

appeals in these cases, and (iv) generally reviewing and analyzing pleadings filed in adversary

proceedings.

       D.      Non-Working Travel (Task Code B195) [billed at ½ rate]
               Fees: $ $22,030.25 Total Hours: 28.90

       58.     During the Fee Period, Paul Hastings attorneys traveled to (a) the Federal

Courthouse in Bridgeport, Connecticut for various hearings related to the Trustee’s Rule 2004

investigation and the Lady May, (b) the New York offices of the U.S. Department of Justice (the

“U.S. DOJ”) for meetings with U.S. DOJ personnel, and (c) Washington, D.C., to conduct

depositions in connection with the Trustee’s Rule 2004 investigation.

       E.      Business Operations (Task Code B210)
               Fees: $260,196.50    Total Hours: 184.80

       59.     During the Fee Period, Paul Hastings attorneys handled numerous matters related

to the operation and maintenance of the Lady May and the Lady May II, including (a) ensuring a

smooth transition of ownership of the Lady May and Lady May II from HK USA to the Trustee,

(b) securing insurance coverage for the Lady May and Lady May II (as the certain of the prior

insurance policies were set to expire at the end of March 2023, without the possibility of

renewal), (c) obtaining a modification to the Repair Reserve Order so as to provide $500,000 in

funding for the operation and maintenance of the Lady May and Lady May II, (d) obtaining court

authorization to enter into various agreements related to the operation and maintenance of the

Lady May and the Lady May II, including a yacht management agreement with Yachtzoo Sarl

(“Yachtzoo”), the yacht manager for the Lady May and Lady May II, and various dockage

agreements, (e) coordinating with Yachtzoo regarding the maintenance and operation of the

Lady May and the Lady May II, and (f) obtaining court authorization to transfer the Lady May




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       72.       Finally, Paul Hastings attorneys engaged in numerous other investigation-related

tasks, including the following:

                communicating with the U.S. DOJ regarding the Individual Debtor’s
                 criminal proceedings and the assets seized in connection with his arrest;

                preparing the Trustee’s response, dated March 7, 2023 [Docket No.
                 1517], to the declaration of Lee Vartan (counsel to HK USA and Mei
                 Guo) addressing HK USA’s and Mei Guo’s purported compliance with
                 this Court’s order granting the Trustee’s motion to compel compliance
                 with the Trustee’s Rule 2004 subpoenas;

                Deposing (a) Valerie Steven and Mark Harmon of Hodgson Russ LLP,
                 which was counsel to the Individual Debtor between 2018 and 2020, and
                 (b) Jerry Shulman of Williams & Connolly LLP, which was counsel to
                 the Individual Debtor in 2015;

                Analyzing relationship between the Individual Debtor and hundreds of
                 companies affiliated with the Individual Debtor; and

                Researching property records.

       H.        Contempt Proceedings (Task Code B262)
                 Fees: $28,081.50    Total Hours: 20.00

       73.       On March 10, 2023, the Court entered the HK Parties Contempt Order [Docket

No. 1537] holding the HK Parties (i.e., HK USA, Ms. Guo, and attorney Lee Vartan) in

contempt and directing them, jointly and severally, to compensate the Trustee and his counsel,

Paul Hastings, for reasonable attorneys’ fees and expenses associated with the Trustee’s efforts

to secure compliance with the subpoenas. On April 10, 2023, the Trustee and Paul Hastings filed

their Special Fee Application seeking payment of $83,370.26 from the HK Parties with respect to

fees incurred during the period from September 28, 2023 through March 10, 2023 (i.e., the date

the Court entered the HK Parties Contempt Order). The Court granted the Special Fee




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III.       Other Litigation (Matter ID 00003)28

           A.        Court Hearings (Task Code B155)
                     Fees: $9,634.50      Total Hours: 8.20

           76.       During the Fee Period, the Paul Hastings attorneys attended various hearings

related to the Individual Debtor’s criminal proceedings, including:

                    The March 15, 2023 hearing on the arrangement of the Individual
                     Debtor in the United States District Court for the Southern District of
                     New York; and

                    The April 4, 2023 bail hearings with respect to the Individual Debtor and
                     Yvette Wang.

           B.        General Litigation (Task Code B191)
                     Fees: $60,704.00      Total Hours: 61.10

           77.       During the Fee Period, Paul Hastings attorneys assisted the Trustee on various

litigation-related matters (other than the adversary proceeding pending in these chapter 11 cases).

First, as the Court is well aware, on March 15, 2023, the Individual Debtor and Yvette Wang

were arrested by federal law enforcement authorities. Paul Hastings attorneys monitored these

criminal proceedings and reviewed pleadings filed in these proceedings.

           78.       Second, in connection with these criminal proceedings, the Trustee received a

document subpoena from the U.S. DOJ, requesting documents related to the Individual Debtor.

In response to that subpoena, Paul Hastings conducted a review of the documents produced to

the Trustee during his Rule 2004 investigation. Paul Hastings transmitted the Trustee’s

document production to the U.S. DOJ on April 24, 2023.

           79.       Third, on April 26, 2023, Jiaming Liu (who had previously been served with one

of the Trustee’s Rule 2004 subpoenas) commenced a lawsuit against the Trustee and Paul



28
       As a general matter, time spent on litigation-related tasks other than adversary proceedings in these chapter 11
       cases was tracked under Matter ID 00003.



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Date         Initials   Description                                   Hours      Rate    Amount
03/14/2023   DEB4       Correspond with J. Kuo regarding Mei Guo       0.10   1,320.00    132.00
                        declaration
03/14/2023   DEB4       Correspond with           regarding recent     0.10   1,320.00    132.00
                        Mei Guo production
03/14/2023   EE3        Research regarding real estate property        0.80    400.00     320.00
03/14/2023   ECS1       Investigate and review information             0.70   1,015.00    710.50
                        regarding potential Kwok affiliated
                        entities/individuals and assets, their
                        connections to Kwok or his affiliates, and
                        their corporate documents
03/14/2023   JPK1       Review ACASS Rule 2004 production for          1.00    915.00     915.00
                        documents concerning sale of aircraft (.9);
                        correspond with D. Barron regarding the
                        same (.1)
03/14/2023   LM20       Review documents produced by Hodgson           3.30    855.00    2,821.50
                        Russ
03/14/2023   LAD4       Call with DOJ (R. Finkel, J. Murray, M.        0.40   1,860.00    744.00
                        Fergenson) and N. Bassett re: update on
                        seizure
03/14/2023   NAB        Call with DOJ (R. Finkel, J. Murray, M.        0.40   1,625.00    650.00
                        Ferguson) and L. Despins regarding seizure
03/15/2023   JK21       Correspond with E. Sutton regarding Kwok       0.40    540.00     216.00
                        arraignment
03/15/2023   JPK1       Review debtor's Southern District of New       0.40    915.00     366.00
                        York criminal indictment
03/15/2023   LM20       Review documents produced by Hodgson           2.10    855.00    1,795.50
                        Russ
03/15/2023   NAB        Call with Debtor and counter-defendant         1.20   1,625.00   1,950.00
                        counsel regarding Debtor's arrest (.1);
                        correspond with A. Luft and L. Despins
                        regarding same (.3); review indictment and
                        SEC complaint (.8)
03/16/2023   AB21       Correspond with D. Barron regarding query      0.10   1,625.00    162.50
                        from C. Daly regarding address for Q. Guo
03/16/2023   DEB4       Correspond with informant regarding            0.10   1,320.00    132.00
                        information for investigation
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Date         Initials   Description                                     Hours      Rate    Amount
03/16/2023   DEB4       Correspond with A. Bongartz regarding            0.10   1,320.00    132.00
                        BVI entities
03/16/2023   DEB4       Correspond with L. Despins regarding             0.10   1,320.00    132.00
                        Kwok passport allegations
03/16/2023   DEB4       Conference with J. Kosciewicz regarding          0.10   1,320.00    132.00
                        discovery documents
03/16/2023   DEB4       Correspond with J. Kosciewicz regarding          0.10   1,320.00    132.00
                        document searches among produced
                        documents
03/16/2023   DEB4       Correspond with B. Kelly regarding LLC           0.10   1,320.00    132.00
                        membership interest
03/16/2023   DEB4       Correspond with           regarding              0.10   1,320.00    132.00
                        informant emails
03/16/2023   DEB4       Correspond with C. Daly regarding Princess       0.10   1,320.00    132.00
                        Gate address
03/16/2023   EE3        Research information about luxury cars           0.80    400.00     320.00
03/16/2023   JK21       Review document production regarding             2.30    540.00    1,242.00
                        Kwok related litigation
03/16/2023   JPK1       Review produced documents linking Qiang          1.10    915.00    1,006.50
                        Guo with Princes Castle address (1.0);
                        correspond with D. Barron regarding the
                        same (.1)
03/16/2023   JPK1       Correspond with S. Phan regarding                0.20    915.00     183.00
                        redactions search
03/16/2023   JPK1       Review Rule 2004 documents concerning            1.20    915.00    1,098.00
                        the Debtor having multiple passports (1.0);
                        correspond with D. Barron regarding the
                        same (.2)
03/16/2023   JPK1       Review prior correspondence regarding            0.60    915.00     549.00
                        redacted documents within Rule 2004
                        productions (.4); call with D. Barron
                        regarding the same (.1); correspond with A.
                        Luft regarding the same (.1)
03/16/2023   LAD4       T/c J. Murray & R. Finkel (DOJ) re:              0.60   1,860.00   1,116.00
                        briefing on case and next steps (.40); review
                        detention letter (.20)
03/16/2023   AEL2       Prepare rule 2004 discovery follow up plan       1.30   1,625.00   2,112.50
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Date         Initials   Description                                     Hours      Rate    Amount
03/17/2023   SM29       Analyze forfeiture issues and related            1.20   1,320.00   1,584.00
                        authority (1.0); call with L. Despins re same
                        (.2)
03/18/2023   LAD4       Review recent developments and prepare           1.20   1,860.00   2,232.00
                        notes for DOJ call (.90); handle call with N.
                        Bassett and DOJ team (J. Murray, M.
                        Fergenson, R. Finkel) re: our next steps and
                        forfeiture issues (.30)
03/18/2023   LAD4       Review/comment on Lady May forfeiture            0.90   1,860.00   1,674.00
                        issues
03/19/2023   DEB4       Correspond with L. Despins regarding Lady        0.10   1,320.00    132.00
                        May 2
03/19/2023   DEB4       Correspond with L. Despins regarding             0.10   1,320.00    132.00
                        investigation target
03/19/2023   DEB4       Correspond with           regarding              0.10   1,320.00    132.00
                        investigation target
03/19/2023   DEB4       Correspond with L. Despins regarding             0.10   1,320.00    132.00
                        journalist info
03/20/2023   DEB4       Correspond with N. Bassett regarding             0.10   1,320.00    132.00
                        Wachen fees
03/20/2023   DEB4       Conferences with W. Zhuge regarding PRC          0.10   1,320.00    132.00
                        witness
03/20/2023   DEB4       Conference with           regarding              0.20   1,320.00    264.00
                        investigation target
03/20/2023   DEB4       Correspond with N. Bassett regarding             0.20   1,320.00    264.00
                        Arizona farm
03/20/2023   DEB4       Conference with N. Bassett regarding             0.10   1,320.00    132.00
                        investigation target
03/20/2023   DEB4       Correspond with W. Zhuge regarding PRC           0.10   1,320.00    132.00
                        witness
03/20/2023   DEB4       Correspond with L. Despins regarding             0.10   1,320.00    132.00
                        supplemental rule 2004 motion
03/20/2023   DEB4       Correspond with informants regarding             0.30   1,320.00    396.00
                        investigation target
03/20/2023   DEB4       Prepare hearing notes on rule 2004               0.80   1,320.00   1,056.00
                        discovery
